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            8                                 UNITED STATES DISTRICT COURT
            9                              NORTHERN DISTRICT OF CALIFORNIA
          10                                       OAKLAND DIVISION
          11     ROBERT ROSS,                                 CASE NO. 4:19-CV-06669 (JST)
          12                         Plaintiff,               UPDATED JOINT CASE MANAGEMENT
                                                              STATEMENT & [PROPOSED] ORDER
          13          v.
                                                              Hearing:
          14     AT&T MOBILITY LLC, ONE TOUCH                 Date: June 22, 2021
                 DIRECT, LLC, and ONE TOUCH DIRECT –          Time: 2:00 PM
          15     SAN ANTONIO, LLC,                            Place: Videoconference
                                                              Judge: Judge Jon S. Tigar
          16                         Defendants.
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Gibson, Dunn &
Crutcher LLP

                           UPDATED JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1           Pursuant to Civil Local Rule 16-10 and this Court’s October 23, 2020 Order, Plaintiff Robert
            2    Ross (“Mr. Ross”), Defendant AT&T Mobility LLC (“AT&T”), and Defendants One Touch Direct,
            3    LLC and OneTouch Direct – San Antonio LLC (collectively, “One Touch”) hereby submit this Joint
            4    Case Management Statement and Proposed Order. This Joint Case Management Statement identifies
            5    subjects covered by the initial Joint Case Management Statement and Order as to which there are
            6    updates or changes since the updated Joint Case Management Statement filed April 13, 2021. Where
            7    the parties have disagreements in their respective submissions below, the fact that any assertion in
            8    either submission is not addressed or refuted by the opposing party does not reflect that party’s
            9    agreement to the assertion at issue.
          10     I.     PROGRESS AND CHANGES SINCE LAST STATEMENT WAS FILED
          11            A.      MOTIONS
          12                    1.      Changes Since Last Statement Was Filed With Respect To Potential
                                        Future Motions
          13
                        On April 26, 2021, Magistrate Judge Ryu granted Mr. Ross and AT&T’s joint administrative
          14
                 motion to file under seal their joint discovery letter brief. (Dkt no. 97.)
          15
                        On March 23, 2021, Mr. Ross and AT&T filed a pending joint discovery letter brief, which was
          16
                 denied on April 26, 2021. After further meeting and conferring, on May 20, 2021, Mr. Ross and AT&T
          17
                 filed an updated joint discovery letter brief, which is currently pending before Magistrate Judge Ryu
          18
                 and set for a hearing on July 22, 2021. (Dkt no. 100.)
          19
                        AT&T and One Touch anticipate each filing a motion for summary judgment at an appropriate
          20
                 time. The parties anticipate that they may also have to file further discovery motions.
          21
                        The schedule in the case was revised with trial now set for August 15, 2022.
          22
                        B.      AMENDMENT OF PLEADINGS
          23
                        AT&T filed its answer to Mr. Ross’s First Amended Complaint on January 12, 2021. One
          24
                 Touch filed its answer to the same on January 29, 2021.
          25
                        C.      DISCOVERY AND DISCLOSURES
          26
                        All parties have served initial disclosures.
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                             UPDATED JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1           Mr. Ross and AT&T have both served discovery to each other. As previously discussed, Mr.
            2    Ross and AT&T’s joint discovery letter brief regarding their discovery dispute is currently pending
            3    before Magistrate Judge Ryu.
            4           One Touch and Mr. Ross are just beginning to discover documents from each other. Mr. Ross
            5    served discovery to One Touch, and One Touch served its responses on June 11, 2021.
            6           One Touch also served discovery on Mr. Ross on March 22, 2021, and Mr. Ross served his
            7    responses on June 11, 2021. Both parties are in the process of producing documents to each other
            8    pursuant to their discovery responses.
            9           D.      ADR OPTIONS
          10            The parties completed a private mediation in September 2020, which was ultimately
          11     unsuccessful. The parties continue to be amenable to the Court scheduling a settlement conference
          12     before a magistrate judge prior to trial.
          13

          14     Dated: June 15, 2021                        By:    /s/Ashley E. Johnson
                                                             Marcellus McRae
          15                                                 Ashley E. Johnson
          16                                                 MARCELLUS MCRAE, SBN 140308
                                                               mmcrae@gibsondunn.com
          17                                                 GIBSON, DUNN & CRUTCHER LLP
                                                             333 South Grand Avenue
          18                                                 Los Angeles, CA 90071-3197
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          19                                                 Facsimile:    213.229.7520
          20                                                 ASHLEY E. JOHNSON, admitted pro hac vice
                                                              ajohnson@gibsondunn.com
          21                                                 GIBSON, DUNN & CRUTCHER LLP
                                                             2001 Ross Avenue
          22                                                 Dallas, TX 75201
                                                             Telephone: 214.698.3100
          23                                                 Facsimile: 214.571.2949
          24                                                 Attorneys for Defendant AT&T MOBILITY LLC
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Crutcher LLP                                                      3
                             UPDATED JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1    Dated: June 15, 2021             By:          /s/Christopher Grivakes
                                                        Christopher Grivakes
            2                                           Damion Robinson
            3                                           CHRISTOPHER GRIVAKES
                                                         cg@agzlaw.com
            4                                           DAMION ROBINSON
                                                         dr@agzlaw.com
            5                                           AFFELD GRIVAKES LLP
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            6                                           Los Angeles, CA 90067
                                                        Telephone: 310.979.8700
            7                                           Facsimile: 310.979.8701
            8                                           Attorney for Plaintiff ROBERT ROSS
            9
                 Dated: June 15, 2021             By:            /s/Alissa R. Pleau-Fuller
          10
                                                        Kevin T. Collins
          11
                                                        Alissa R. Pleau-Fuller
          12                                            Mikhail Parnes
                                                        BUCHALTER
          13

          14                                            KEVIN T. COLLINS (SBN: 185427)
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          15                                            ALISSA R. PLEAU-FULLER (SBN: 258907)
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          17                                            BUCHALTER
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                                                        Telephone: 916.945.5170
          19
                                                        Attorneys for Defendants ONE TOUCH DIRECT, LLC,
          20                                            and ONETOUCH DIRECT- SAN ANTONIO LLC

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Crutcher LLP                                                 4
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            1                                         FILER’S ATTESTATION
            2           Pursuant to Civil Local Rule 5-1(i)(3), Alissa R. Pleau-Fuller hereby attests that concurrence
            3    in the filing of this document has been obtained from all the signatories above.
            4

            5    Dated: June 15, 2021                         /s/Alissa R. Pleau-Fuller
                                                              Alissa R. Pleau-Fuller
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Crutcher LLP                                                       5
                           UPDATED JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1                             [PROPOSED] CASE MANAGEMENT ORDER
            2            The above JOINT CASE MANAGEMENT STATEMENT is approved as the Case

            3    Management Order for this case and all parties shall comply with its provisions.

            4

            5    IT IS SO ORDERED.

            6

            7
                 Dated: ______________, 2021                 ___________________________________________
            8
                                                             HON. JON S. TIGAR
            9                                                UNITED STATES DISTRICT JUDGE

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          13     BN 45895190V2


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                             UPDATED JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
